              Case 1:18-sw-00329-EPG Document 2 Filed 10/03/18 Page 1 of 3

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 5
   Attorneys for Plaintiff
 6 United States of America

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                          CASE NO. 1:18-SW-00329-EPG

11                                Plaintiff,            MOTION AND ORDER TO UNSEAL SEARCH
                                                        WARRANTS
12                          v.

13   ELFEGO ALCALA,
     AIDA CORONA,
14   TAMILENE CISNEROS, and
     LUPITA CISNEROS,
15
                                 Defendants.
16

17
            The search warrants in this case, having been sealed by Order of the Court on August 6, 2018,
18
     and August 13, 2018, and it appears that they no longer need remain secret post-indictment of the
19
     criminal case, 1:18-CR-00182-LJO-SKO,
20
            The United States of America, by and through McGregor W. Scott, United States Attorney, and
21
     Laura D. Withers, Assistant United States Attorney, hereby moves that the search warrants in this case
22
     be unsealed and made public record.
23

24
      Dated: October 2, 2018                                MCGREGOR W. SCOTT
25                                                          United States Attorney

26
                                                     By: /s/ LAURA D. WITHERS
27                                                       LAURA D. WITHERS
                                                         Assistant United States Attorney
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      MOTION AND PROPOSED ORDER TO UNSEAL               1
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     MOTION AND PROPOSED ORDER TO UNSEAL    2
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              Case 1:18-sw-00329-EPG Document 2 Filed 10/03/18 Page 3 of 3

 1                       IN THE UNITED STATES DISTRICT COURT FOR THE

 2                                EASTERN DISTRICT OF CALIFORNIA

 3
     UNITED STATES OF AMERICA,                       CASE NO. 1:18-SW-00329-EPF
 4
                                Plaintiff,           ORDER TO UNSEAL COMPLAINT
 5
                          v.
 6
     ELFEGO ALCALA,
 7   AIDA CORONA,
     TAMILENE CISNEROS, and
 8   LUPITA CISNEROS,
 9                             Defendants.
10

11         Pursuant to the motion by the United States, IT IS HEREBY ORDERED that the search warrants
12 filed on August 6, 2018, and August 13, 2018 be unsealed and become public record.

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     IT IS SO ORDERED.
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15      Dated:   October 2, 2018                          /s/
16                                                 UNITED STATES MAGISTRATE JUDGE

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      MOTION AND PROPOSED ORDER TO UNSEAL            3
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